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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: GENERIC PHARMACEUTICALS                     :       MDL 2724
PRICING ANTITRUST LITIGATION                       :       16-MD-2724
                                                   :
                                                   :       HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:                          :
                                                   :
ALL ACTIONS                                        :


                       PRETRIAL ORDER NO. 46
        (AMENDING PRETRIAL ORDER NO. 35 AND STAYING BRIEFING
      ON MOTIONS TO DISMISS IN CASE MANAGEMENT GROUPS 2 AND 3)


       AND NOW, this 22nd day of February 2018, as discussed at the Status Conference held

February 21, 2018, it is hereby ORDERED that the schedule set forth in Pretrial Order No. 35

for briefing on motions to dismiss in Case Management Groups 2 and 3 is AMENDED as

follows: All briefing is STAYED until 45 days after the Court rules on the motions to dismiss in

Case Management Group 1. Within 14 days after resolution of the Group 1 motions, Liaison

Counsel shall submit a proposed revised briefing schedule for Groups 2 and 3.

       It is so ORDERED.



                                                   BY THE COURT:

                                                    /s/Cynthia M. Rufe
                                                   ____________________
                                                   CYNTHIA M. RUFE, J.
